

Matter of Maldonado v Santana (2018 NY Slip Op 08864)





Matter of Maldonado v Santana


2018 NY Slip Op 08864


Decided on December 21, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 21, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, LINDLEY, TROUTMAN, AND WINSLOW, JJ.


1382 CAF 17-01794

[*1]IN THE MATTER OF ANA I. MALDONADO, PETITIONER-RESPONDENT,
vEZEQUIEL SANTANA, RESPONDENT-APPELLANT. (APPEAL NO. 1.) 






LORENZO NAPOLITANO, ROCHESTER, FOR RESPONDENT-APPELLANT.
KELLY WHITE DONOFRIO LLP, ROCHESTER (DONALD A. WHITE OF COUNSEL), FOR PETITIONER-RESPONDENT.
ELLA MARSHALL, ROCHESTER, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Monroe County (Julie A. Gordon, R.), entered July 12, 2017 in a proceeding pursuant to Family Court Act article 6. The order, among other things, granted petitioner permission to relocate with the subject child to Texas. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: December 21, 2018
Mark W. Bennett
Clerk of the Court








